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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                       )
In re                                  )                   Chapter 11
                                       )
                           1
TOUGH MUDDER INC., et al.,             )                   Case No. 20-10036 (CSS)
                                       )
                Debtors.               )                   Joint Administration Requested
                                       )
                                       )                   Objection Deadline:
                                       )                   February 18, 2020, at 4:00 p.m. (EST)
                                       )
                                       )                   Hearing Date:
                                       )                   February 25, 2020, at 1:00 p.m. (EST)
                                       )
______________________________________ )

    NOTICE OF CHAPTER 11 TRUSTEE’S MOTION FOR ENTRY OF AN ORDER
     PURSUANT TO BANKRUPTCY RULE 1007(c) EXTENDING THE TIME TO
     FILE SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF
                          FINANCIAL AFFAIRS

               PLEASE TAKE NOTICE that today, Derek C. Abbott, Esq., the chapter 11
trustee (the “Trustee”) for Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder Event
Production Inc. (“TM Events” and, together with Tough Mudder, the “Debtors”) filed the
Chapter 11 Trustee’s Motion for Entry of an Order Pursuant to Bankruptcy Rule 1007(c)
Extending the Time to File Schedules of Assets and Liabilities and Statements of Financial
Affairs (the “Motion”).

              PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion must
be (a) in writing and served on or before February 18, 2020, at 4:00 p.m. (EST) (the
“Objection Deadline”); (b) filed with the Clerk of the Bankruptcy Court, 824 N. Market Street,
3rd Floor, Wilmington, Delaware 19801; and (c) served so as to be received on or before the
Objection Deadline by the undersigned counsel.

               PLEASE TAKE FURTHER NOTICE THAT only objections made in writing and
timely filed and received, in accordance with the procedures above, will be considered by the
Bankruptcy Court at such hearing.

         PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION
WILL BE HELD ON FEBRUARY 25, 2020, AT 1:00 P.M. (EST) BEFORE THE

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       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
       identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
       The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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HONORABLE CHRISTOPHER S. SONTCHI, AT THE UNITED STATES BANKRUPTCY
COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET, 5TH FLOOR,
COURTROOM #6, WILMINGTON, DELAWARE 19801.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.

 Dated: February 11, 2020      MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 Wilmington, Delaware
                             /s/ Joseph C. Barsalona II
                            Curtis S. Miller (No. 4583)
                            Matthew B. Harvey (No. 5186)
                            Joseph C. Barsalona II (No. 6102)
                            Matthew O. Talmo (No. 6333)
                            Brett S. Turlington (No. 6705)
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                            Proposed Counsel for Derek C. Abbott, Esq., as Chapter
                            11 Trustee to Tough Mudder Inc. and Tough Mudder
                            Event Production Incorporated




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